ZCHARLES W. COE

ATroHNEMT LAW
' 310 W. L`“.ND .¢WENUE
ANC.HOHAGE, ALASKA 99501

(907) 2?’6*5`f73

` WAL~MART SToRES, .INC., cub/a -

 

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m THE S'UPERIOR COURT FoR THE STATB oF ALAt§'lS<X§B' B°“'*@

TH:RD moICIAL DISTRICT AT ANCHORAGE
LJSA RUPP,
Plamofi;

VS.

WAL-MART,

\-¢_»'\~._»’\_l"\~"\~"'\-._/\_/\-F\_/\_"

Defendant.
' )CHS@NG 3AN11533] m

 

COWLMNT
COME,S `NOW, the plaintiff,- L]SA. RUPP, by and through her attorney,
CHARLES `W. COE, to state and diego the following as her cause of action:
l h l
P]a'iotiff, LISA R"I.JPP,l dis a resident of Alaska, residing in the Third Iudioial
bowen ' '
.II
Dofondant, WAI;*MART STORES, INC., is a c\c:»rpora'cionl doing businoss at'
Various locations throughout the slate of A]aska and is au;chorizod to do business as a

corporation in the state ofA]aska.

Rupp v. VIal-Mar|. - 'l . 0 _
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.CHAHLES W. COE

AWOHNEYAT raw
810 W. 2ND AVENUE
Al\lCHOHAGE, ALASKA 9950`1

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ill
Defendant is the owner and operator of lilie store located on A Street iii
'Anohorage' Alasl<a. D_efendant_, as a corporation and ownerfoperator oi` this store, is
'vicarionsly liable for the roots and omissions of their employees agents, and
representatives under the theories of respondeat snperior, negligent supervision and
l negligent entrustment ' n d - q -
l”V
A_il events relevant to the cause oi` action of this complaint occurred in the
state of Alaska, at Ancl:iorage,
`V
011 or about April 24', 2009, plaintiff was walking in the garden aisle section
of defendant’s store. As she Was inallring, she slipped and fell on dirty water on the
floor. As s result of slipping and telling en the iloor_ she incurred injuries and
damages set out in paragraph X]l.of this complaint ` `
Vl
Tlie area inhere rileiritifi` fell was to be olean'ed, nionitored, and maintained by n
- defendant’s employees and representatives The defendants employees agents and
representatives failed to monitor, olean, and inaintain this srea, ivl:)ioh ereated a

hazard to customers rising their store.

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signs a a CI . Exhtb\i.____l____..._
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Complsin£ _" .

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CHARI_ES W. COE
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_ 810 W. ZND RVENUE
ANOHGHAG§,ALASKA 99501 .
(so?) 27a-si rs

FiItST CAUSE OF ACTION
`Vn ' n
Plaintifi` hereby realleges and incorporates paragraphs l through VI ofthis
complaint into this hirst Ca_use of action
Vll'l
Defendant owed‘a-dttt}t to keep its‘aisles and iloors ina safe coiidition_freo
fro:n hazards and to Warn users of this area of potential hazards Defendant
breached this duty in failing to clean their aisles and floor, in failing to properly
insure that this section of the store was kept clear from falling debris and ivater, in
failing to inspect monitor, maintain, and correct this safety hazard in not
responding to prior notices of this hazard, and in not cleaning the walking area
where plaintiff slipped
iX
As` a result of the defendants negii`_genco _tlio plaintiff incurred the damages
' and injuries set forth in paragraph-jill of this complaint
n l -SECOND CAUSE O_F ACTION
K
Plaintiff hereby realleges and incorporates paragraphs l through IX of this

_eornplaint into this Seoond Ceuse of Action.

Rupp v.Wal-Mart ` _ f ,
san-ir or _ _ ,,
Complaint EXh|Pli

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_CHAHLES W. COE

 

 

 

XI
Def'endant miss negligent par se in that its acts and omissions trioiated its
own standards Of nlraintenarrce. AS a result ofthis negligenceper‘ 3e1l piaintifi` 7 l
incurred injuries set forth in paragraph XI] of this eornplaint.
Xll
' As a direct and proximate resuit of defendant’s acts and omissions the
plaintiff suffered the following injuries and damages
1. misses a 11a-baca aaa raises `
2. 1 Medieal and medication expenses in the past, present, and forme;
3. l Past, present, and iirture physical and emotional pain and suffering;
l .4. Loss of enjoyment of life; and -
d. Dther damages to be proven at trial
WHEREFORE, plaintiff prays forjudgment in her favor against the
defendant i`or the i`ollowing: -
a. Cornpensatory damages to be proven at trial in a sum within the
‘ jurisdiction of the sup'erior-eourt;

b. For pre-judgment and postjudgment interest_., eosts, and attorney fees;

 

 

and
o. l For any other relied1 this court deems just and equitable
Rupp v.' Wal-_Mart ` 7 .'
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complaint Exhibit
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510 W. ZND A\!ENUE
ANCHOFIAGE, ALASKA SQSO'F

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DATED this 25‘!‘ day of Februsry, 201 i .

CHARLES W. COE
' Attomey for Plaintiff

/ nn

Charles W. Coe

 

 

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